                                                                                                                         1    Michelle DeLappe, AKBA # 1602004
                                                                                                                              GARVEY SCHUBERT BARER, P.C.
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                                                                                                                              Attorneys for Plaintiffs
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                                                                                                                         7                                   UNITED STATES DISTRICT COURT
                                                                                                                         8                         FOR THE DISTRICT OF ALASKA AT ANCHORAGE
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                                                                                                                        10    CP SALMON CORPORATION et al.,
                                                                                                                                                                                       Case No. 3:16-cv-00293-TMB
                                                                                                                        11                        Plaintiffs,
                                                                                                                                                                                       NOTICE OF VOLUNTARY DISMISSAL
                                                                                                                        12            v.                                               WITHOUT PREJUDICE
                                                                                                                        13    WILBUR ROSS, JR., in his official capacity               Clerk’s Action Required
                                                                                                                              as Secretary of the United States Department
                                                                                                                        14
                                                                                                                              of Commerce, et al,
                                                                                                                        15
                                                                                                                                                  Defendants.
                                                                                                                        16
                                                                                                                        17          Plaintiffs, by and through their attorneys, hereby give notice of voluntary dismissal of this
                                                                                                                        18
                                                                                                                             action without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Dismissal without a court
                                                                                                                        19
                                                                                                                             order is appropriate under FRCP 41(a)(1)(A)(i) because Defendants have not served an answer or
                                                                                                                        20
                                                                                                                             a motion for summary judgment.
                                                                                                                        21
GARVEY SCHUBERT BARER, P.C.




                                                                                                                                    DATED this 13th day of February, 2019.
                                                                      Seattle, Washington 98101-2939




                                                                                                                        22
                                                 1191 Second Avenue
                              Eighteenth Floor



                                                                                                       (206) 464-3939




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                                                                                                                                                                                      s/ Michelle DeLappe
                                                                                                                        24                                                          Michelle DeLappe, AKBA #1602004
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                                                                                                                               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                        Page 1 of 2
                                                                                                                               CP Salmon Corporation et al v. Ross, et al, Case No. 3:16-cv-00293-TMB
                                                                                                                               Case 3:16-cv-00293-TMB Document 18 Filed 02/13/19 Page 1 of 2
                                                                                                                         1
                                                                                                                                                                 CERTIFICATE OF SERVICE
                                                                                                                         2
                                                                                                                                    I hereby certify that on February 13, 2019, I caused to be electronically filed the foregoing
                                                                                                                         3
                                                                                                                             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE with the Clerk of the Court
                                                                                                                         4
                                                                                                                             using the CM/ECF system which causes parties who are registered ECF participants to be served
                                                                                                                         5
                                                                                                                             by electronic means.
                                                                                                                         6
                                                                                                                                    Dated this 13th day of February, 2019, at Seattle, Washington.
                                                                                                                         7
                                                                                                                                                                               GARVEY SCHUBERT BARER, P.C.
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                                                                                                                        10                                                     By: s/Bonnie Rakes
                                                                                                                                                                               Bonnie Rakes
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GARVEY SCHUBERT BARER, P.C.


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                                                                                                                               NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                        Page 2 of 2
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                                                                                                                               Case 3:16-cv-00293-TMB Document 18 Filed 02/13/19 Page 2 of 2
